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     ~A0245D     (Rev. 3/01) Judgment in a Criminal Case for Revocations                                               JUN 25 2015
                 Sheet 1                                                                                              -
                                                                                                            SOUTHERN' DISTRICT OF CALIFORNIA
                                         UNITED STATES DISTRICT COURT BY                                                  V'l:)-
                                                                                                                                 ,   DEPUTY


                     SOUTHERN                                      District of                             CALIFORNIA
                   UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                    V.                                     (For Revocation of Probation or Supervised Release)
                      ELVIA MAGALLON (2)                                   (For Offenses Committed On or After November I, 1987)


                                                                           Case Number: 09CR3760-WQH
                                                                           ELIZABETH BARROS, FEDERAL DEFENDERS
                                                                           Defendant's Attorney
    REGISTRATION No. 16593298
D
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No.    1-4
                                                           ------------------
     D was found in violation of allegation(s) No.                         after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

    Allegation Number             Nature of Violation
           1-2        Unlawful use of controlled substance (nv3)
             3        Failure to complete punitive RRC placement (nv24)
             4        Failure to participate in drug aftercare program (nv21)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through         5      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


              IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Untted States attorney of any ntaterial change in the
    defendant's economic circumstances.

                                                                           JUNE 22, 2015
                                                                          Date ofImposition of Sentence




                                                                                                                          09CR3760-WQH
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AO 245B      (Rev. 9/00) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page __2;;......_ of   5
DEFENDANT: ELVIA MAGALLON (2)
CASE NUMBER: 09CR3760-WQH
                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
           TIMESEVED



     D The court makes the following recommendations to the Bureau of Prisons:



     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      [)i.m.     []p.m.     on

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                   RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                      to

at                                                     with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                         By ________~~~~~~~~~~--------
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                              09CR3760-WQH
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AO 245D       (Rev. 3/10) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                             ludgmcnt-·-Pagc      3     of     5
DEFENDANT: ELVIA MAGALLON (2)
CASE NUMBER: 09CR3760-WQH
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
24 months


         The defendant shan report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal. state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain fi'om any unlawful usc ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.

o      The above dmg testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA samplc from the defendant, if the collection of such a sammple is authorized
       pursuant to section 3 of the DNA Analysis Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Chcck, if applicable.)

o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must compiywith the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed,

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13}    as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.
                                                                                                                                      09CR3760-WQH
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       A0245B      (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment-Page _ _4_ of _--,5,-__
       DEFENDANT: ELVIA MAGALLON (2)                                                                D
       CASE NUMBER: 09CR3760-WQH




                                               SPECIAL CONDITIONS OF SUPERVISION

~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
  reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
  search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
  this condition.

o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
~ Not enter the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

~ Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
~ Enter and complete a drug treatment program as directed by the probation office.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain full time employment andlor schooling or a combination of both.
~ Resolve all outstanding warrants within 60                  days.
o   Complete          hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o commencing upon release from imprisonment.
    Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of


o   Remain in your place of residence for a period of
    services or undergoing medical treatment.
                                                                               , except while working at verifiable employment, attending religious

o   Not engage in any form oftelemarketing, as defined in 18 USC 2325, without the written permission ofthe probation officer.
o   Comply with the conditions of the Home Confinement Program for a period of                               months and remain at your residence
    except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
    procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
    probation officer.

~ Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
    on the defendant's ability to pay.

                                                                                                                                   09CR3760-WQH
